   Case 2:10-md-02179-CJB-DPC Document 11842-2 Filed 11/12/13 Page 1 of 1




IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL BY THE OIL RIG “DEEPWATER             *       MDL NO . 2179
HORIZON ” IN THE GULF OF MEXICO , ON
APRIL 20, 2010                                         *       SECTION “J”

                                                       *       HONORABLE CARL J. BARBIER
THIS DOCUMENT RELATES TO 12-970
                                                       *       MAGISTRATE JUDGE SHUSHAN

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                                              ORDER

       Considering the foregoing Motion:

       IT IS HEREBY ORDERED, that this matter be set for status on the ____ day of

___________, 2013 at ________ o’clock ___. M. in accord with the Motion by Jon Andry that

any other issue parties wish to discuss at the status conference should be brought to the Court’s

attention, in writing, at least five (5) days prior to the scheduled conference.

       This ________ day of _______________, 2013 at New Orleans, Louisiana.




                   _______________________________________
                       UNITED STATES DISTRICT JUDGE
